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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                        Case No.: 1:20−cr−00299
                                                          Honorable Robert M. Dow Jr.
Hardy Lee Browner
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 13, 2020:


        MINUTE entry before the Honorable Robert M. Dow, Jr. as to Hardy Lee
Browner (1): Motions for pre−trial conference [23], protective order [24], and designation
of Classified Information security Officer [25] are granted. In regard to the protective
order, counsel are directed to submit the signed protective order (memorandum of
understanding) to the Courtroom Deputy for entry on the docket. In addition, by
agreement of the parties, Daniel O. Hartenstine is designated as the CISO for this case, to
perform the duties and responsibilities prescribed for CISO's in the Security Procedures
promulgated by the Chief Justice. The status hearing set for 8/14/2020 at 9:45 a.m. will
proceed so that the Court can set a date for the pre−trial conference and a date for a further
status hearing. Mailed notice (cdh, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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